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UNITED STATES DISTRICT COURT 'L)`
wEsTERN DISTRICT oF TENNESSEE 05 APR 25 pa 3_
Eastern Divisioo ' 3b

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UNITED sTATEs 0F AMERICA L»LELFFLGF ;,,;3_ D}STLC'O
- et l':a,.¢qc --T.
-vs- Case No. 1:05cr10021-001T

DAVID PRUIETT

 

ORDER APPOINTING COUNSEL PURSUANT TO
THE CRIMINAL JUSTICE ACT

This Court has determined that the above-named defendant is financially unable to obtain adequate
representation in the above-styled case, and is otherwise qualified for appointment of counsel. Accordingly,
the Court makes the following appointment pursuant to the Criminal Justice Act (18 U.S.C. § 3006A):

APPOINTMENT OF COUNSEL

- Rusty Larson, a member of the Criminal Justice Act Panel of this District, is appointed as
counsel for the defendant The defendant is to reimburse Mr. Larson at the rate of $150
every two weeks, beginning on Fn'day, May 13, 2005 and continuing until further order of
this court.

TYPE OF APPOINTMENT

° All purposes including trial and appeal %<{¢`

 

DONE and ORDERED in ll 1 South Highland, Jackson, TN, this day of April,
2005.
JAM . TODD
C TED STATES DISTRICT IUDGE
Copies furnished to:
United States Attorney
United States Marshal
Pretrial Services Of`f'ice

Thle document entered on the docket sheet ln compliance
with Ru|e 55 and!or 32(b) FFICrP on

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DISTRIC COUR -WESERNT D"'TRCT OFTENNESSEE

Notice of Distribution

This notice confirms a copy of` the document docketed as number 20 in
case l:05-CR-1002l Was distributed by faX, mail, or direct printing on
April 28, 2005 to the parties listcd.

 

 

A. Russell Larson

LAW OFFICES OF A. RUSSELL LARSON
P.O. Box 2 l 63

Jackson, TN 3 8302--2 l 6

J ames W. PoWell

U.S. ATTORNEY'S OFFICE
109 S. Highland Ave.

Ste. 300

Jackson, TN 38301

Honorable J ames Todd
US DISTRICT COURT

